

Matter of Weingrad &amp; Weingrad P.C. v Goetz (2021 NY Slip Op 04286)





Matter of Weingrad &amp; Weingrad P.C. v Goetz


2021 NY Slip Op 04286


Decided on July 08, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: July 08, 2021

Before: Manzanet-Daniels, J.P., Webber, Singh, Kennedy, JJ. 


 Appeal No. 14187 Case No. 2021-01468 

[*1]In the Matter of Weingrad &amp; Weingrad P.C., et al., Petitioners,
vHon. Paul A. Goetz, etc., et al., Respondents.


Weingrad &amp; Weingrad, P.C., New York (Stephen A. Weingrad of counsel), for petitioners.
Letitia James, Attorney General, New York (Charles F. Sanders of counsel), for Hon. Paul A. Geotz, respondent.
Law Office of Irina Frolova, New York (Irina Frolova of counsel), for Rustam Iseev, respondent.



The above-named petitioner having presented an application to this Court praying for an order, pursuant to article 78 of the Civil Practice Law and Rules,
Now, upon reading and filing the papers in said proceeding, and due deliberation having been had thereon,
It is unanimously ordered that the application be and the same hereby is denied and the petition dismissed, without costs or disbursements.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: July 8, 2021








